                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                               Plaintiff,          )
                                                   )
vs.                                                )       Case No. 16-06008-03-CR-SJ-GAF
                                                   )
JACK DANIEL LOOS,                                  )
                                                   )
                               Defendant.          )

                                                ORDER

       On July 15, 2016, defendant appeared before Chief United States Magistrate Judge Sarah W.

Hays and entered a plea of guilty to Count One of the Indictment. The Defendant also admitted the

allegations of forfeiture, which include a money judgment to be entered against the Defendant, as

contained in the Indictment. Judge Hays issued her Report and Recommendation (doc. 226).

       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of Chief United States Magistrate Judge Sarah

W. Hays.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.

       SO ORDERED.
                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: August 9, 2016



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